Case 3:18-cv-05945-VC Document 125-5 Filed 10/30/19 Page 1 of 4




           EXHIBIT 5
10/3/2018                                                   MEmoji - GIF selfies with emoji accessories!
                                    Case 3:18-cv-05945-VC Document      125-5 Filed 10/30/19 Page 2 of 4




https://web.archive.org/web/20141220111653/http://thememojiapp.com/                                                     1/3
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                                    Case 3:18-cv-05945-VC Document      125-5 Filed 10/30/19 Page 3 of 4




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                                    Case 3:18-cv-05945-VC Document      125-5 Filed 10/30/19 Page 4 of 4




https://web.archive.org/web/20141220111653/http://thememojiapp.com/                                                     3/3
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